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                      IN THE UNITED STATES DISTRICT COURT
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                     FOR THE NORTHERN DISTRICT OF ILLINOIS RTKH,OUM.SA.SDG
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                                                        CLE
                                EASTERN DIVISION

 NICHOLAS GIOVANNELLI,                )
                                      )
                    Plaintiff,        )
 v.                                   )                            Case No. 1:21-cv-1092
       Pixels.com, LLC                )                             1:22-cv-02160
 WALMART, INC., WAL-MART.COM USA,     )                            Removed from:
 LLC, THE STOCKTREK CORPORATION d/b/a )                            Circuit Court of Cook County
 STOCKTREK IMAGES, INC., PIXELS.COM,  )                            Case No. 2021 L 000144
 LLC, AMAZON.COM, INC., AMAZON.COM    )
                                                               Judge Franklin U. Valderrama
 SERVICES, LLC and POSTERAZZI CORP.,  )
                                      )                        Magistrate Judge Jeffrey T. Gilbert
                    Defendants.       )

                                      NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

Defendants Walmart Inc., Wal-Mart.Com USA, LLC, The Stocktrek Corporation, Pixels.Com,

LLC, Amazon.Com, Inc., Amazon.Com Services, LLC and Posterazzi Corp., hereby remove this

action, Case No. 2012 L 000144, from the Circuit Court of Cook County, Illinois, County

Department, Law Division, to the United States District Court for the Northern District of Illinois,

and in support of their Notice of Removal, state as follows:

A.     Nature of the Civil Action

       1.      Defendants are named as Defendants in Case No. 2021 L 000144, from the Circuit

Court of Cook County, Illinois.

       2.      Plaintiff seeks damages brought under the Illinois Right of Publicity Act, 765 ILCS

1075/1 and the common law for Negligent Infliction of Emotional Distress.

B.     Timing and Perfecting of Removal

       3.      All Defendants hereby join in this Notice of Removal.
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        4.       The timing of this removal is proper pursuant to 28 U.S.C. § 1446(b) as it is being

filed within thirty days of certain Defendants’ being served with the Complaint. Defendant The

Stocktrek Corporation was served with the Complaint on January 26, 2021. Defendant Amazon.Com

Services, LLC was served with the Complaint on January 25, 2021. Defendant Amazon.Com, Inc.

has not been served with the Complaint. Defendant Posterazzi Corp. was served with the Complaint

on February 2, 2021. Defendant Walmart Inc. was served with the Complaint on January 21, 2021,

and agreed to consent to and join this removal petition on February 19, 2021. Defendant Wal-

Mart.Com USA, LLC has not been served with the Complaint. Defendant Pixels.com has not been

served with the Complaint. (Copies of the served Summonses’ and Complaint are attached hereto

as Exhibit 1).

        5.       Upon filing of this Notice of Removal, this office shall promptly provide written

notice thereof to the Clerk of the Circuit Court of Cook County, Illinois County Department, Law

Division. A copy of the Notice of Filing of Notice of Removal to be filed and served is attached

hereto as Exhibit 2.

C.      Diversity Jurisdiction

        6.       For diversity purposes, a corporation is deemed a citizen of its state of incorporation

and the state where it has its principal place of business. 28 U.S.C. § 1332(c)(1). A limited liability

company is deemed “a citizen of every state in which its members are citizens.” Kroupa v. Garbus,

583 F.Supp.2d 949, 952 (N.D. Ill. 2008).

        7.       At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Plaintiff was a citizen of the State of Illinois.




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       8.      At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Walmart Inc. was a Delaware corporation with its principal place of business

in the State of Arkansas.

       9.      At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Wal-Mart.Com USA, LLC’s was a limited liability company whose sole

member was Walmart Inc., which is a Delaware corporation with its principal place of business in

the State of Arkansas.

       10.     At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant The Stocktrek Corporation was a Delaware corporation with its principal

place of business in the State of New York.

       11.     At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Pixels.Com, LLC was a limited liability company whose sole member was

Sean Broihier, who is a citizen of the State of California.

       12.     At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Amazon.Com, Inc., was a Delaware corporation with its principal place of

business in the State of Washington.

       13.     At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Amazon.Com Services, LLC was a limited liability company whose sole

member is Amazon.com, Inc., which was a Delaware corporation with its principal place of business

in the State of Washington.

       14.     At the time of the filing of the Complaint and at the time of the filing of this Notice of

Removal, Defendant Posterazzi Corp. was a New York corporation with its principal place of business

in the State of New York.




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          15.   As a result, the requirement of complete diversity of citizenship is satisfied. 28 U.S.C.

§ 1332.

          16.   Defendants deny Plaintiff’s claims of wrongdoing and requests for relief. However,

in his Complaint Plaintiff alleges damages in excess of One Million Dollars, as well as an award of

punitive damages. Thus, the amount in controversy exceeds the jurisdictional threshold of $75,000.

28 U.S.C. § 1332(a); Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 87 (2014).

          17.   Based on the facts set forth above, this Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332 (diversity of citizenship). The parties are diverse, and the amount in

controversy is over $75,000.

          18.   Pursuant to 28 U.S.C. § 1441(a), and in accordance with 28 U.S.C. § 1446(b), this

entire matter may be removed to this Court because this Court “embrac[es] the place where such

action is pending.” Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1441.

          19.   By filing this Notice of Removal of this civil action, Defendants do not waive any of

their defenses, including, but not limited to, their right to move to dismiss this action pursuant to Rule

12 of the Federal Rules of Civil Procedure.

          20.   This Notice of Removal is being provided to Plaintiff, through his counsel of record,

Craig D. Tobin, Jessica Firlej, Tobin & Munoz, LLC, 70 W. Madison St., Suite 1950, Chicago, Illinois

60602.

          WHEREFORE, Defendants, Walmart Inc., Wal-Mart.Com USA, LLC, The Stocktrek

Corporation, Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC and Posterazzi

Corp., hereby remove this action, Case No. 2021 L 000144, from the Circuit Court of Cook

County, Illinois, County Department, Law Division, to the United States District Court for the

Northern District of Illinois, and request that this Court accept jurisdiction of this action and place




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it upon the docket of this Court for further proceedings as though this action had originally been

instituted in this Court.

                                             Respectfully Submitted,

                                             WALMART, INC., WAL-MART.COM USA,
                                             LLC, THE STOCKTREK CORPORATION,
                                             PIXELS.COM, LLC, AMAZON.COM, INC.,
                                             AMAZON.COM SERVICES, LLC and
                                             POSTERAZZI CORP.

                                             By: /s/James K. Borcia
                                                         One of Their Attorneys

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TRESSLER LLP
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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing Notice of Removal was filed through the

Court’s electronic filing system. Service will be made by operation of that system upon counsel

for Plaintiff identified below, and Plaintiff’s counsel may access this document through the Court’s

CM/ECF system. Additionally, a copy of the foregoing Notice of Removal was served upon

Plaintiff’s counsel via mail and email at the addresses listed below.

                                           Craig D. Tobin
                                            Jessica Firlej
                                       Tobin & Munoz, LLC
                                   70 W. Madison St. Suite 1950
                                      Chicago, Illinois 60602
                                      ctobin@barristers.com
                                      jfirlej@barristers.com



Dated: February 24, 2021                                     /s/ James K. Borcia
                                                             James K. Borcia




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